Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 1 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 2 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 3 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 4 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 5 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 6 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 7 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 8 of 9
Case 1:21-cr-00607-EGS Document 62 Filed 08/02/22 Page 9 of 9
